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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                       MIDLAND/ODESSA DIVISION
UNITED STATES OF AMERICA        )
                                )
v.                              )     MO:19-CR-265(1)
                                )
JESSE RAY HARDEE                )

                  FINDINGS OF FACT AND RECOMMENDATION ON
             FELONY GUILTY PLEA BEFORE THE U. S. MAGISTRATE JUDGE

       Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Court for
administration of guilty plea and allocution under Rule 11 of the Federal Rules of Criminal
Procedure.

       On the 24th day of January, 2020,1 this cause came before the undersigned U.S.
Magistrate Judge for Guilty Plea and Allocution of the Defendant JESSE RAY HARDEE2 on
Count ONE of the INDICTMENT filed herein charging him with a violation of 21 U.S.C. §
846. The Defendant signed a written consent to plead before the Magistrate Judge. After
conducting said proceeding in the form and manner prescribed by FED.R.CRIM.P. 11, the Court
finds:

       a) that the Defendant, after consultation with counsel of record, has knowingly and
voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a
U.S. Magistrate Judge subject to final approval and imposition of sentence by the District Court;

        b) that the Defendant pleaded guilty to COUNT ONE of the INDICTMENT without a
written plea agreement. Any oral agreements were stated into the record by the parties; and,

       c) that the Defendant is fully competent and capable of entering an informed plea, that
the Defendant is aware of the nature of the charges and the consequences of the plea, 3 and that
the plea of guilty is a knowing and voluntary plea supported by an independent basis in fact
containing each of the essential elements of the offense.

       IT IS THEREFORE the recommendation of the undersigned U.S. Magistrate Judge that
the District Court accept the guilty plea of the Defendant JESSE RAY HARDEE and that
JESSE RAY HARDEE be finally adjudged guilty of that offense.


        1
          The Court extended the Defendant’s plea deadline to January 24, 2020. The Defendant’s plea is viewed as
timely as it relates to the plea bargain deadline established by the undersigned. This is not a guarantee that the
District Judge will grant acceptance of responsibility credit, but simply a finding that the Defendant’s plea was
timely for the purposes of the plea bargain deadline.

        2
            The Defendant acknowledged he has been charged under the true and correct name.

        3
          The Defendant was admonished as to the statutory penalty range of a mandatory minimum 10 years up to
life imprisonment, a mandatory minimum 5 years supervised release, a fine not to exceed Ten Million Dollars
($10,000,000.00), and a One Hundred Dollar ($100.00) mandatory special assessment.
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        The United States District Clerk shall serve a copy of this Proposed Findings of Fact and
Recommendation on all parties electronically. In the event that a party has not been served by
the Clerk with this Report and Recommendation electronically, pursuant to the CM/ECF
procedures of this District, the Clerk is ORDERED to mail such party a copy of this Report and
Recommendation by certified mail, return receipt requested. Pursuant to 28 U.S.C. § 636(b)(1),
any party who desires to object to this report must serve and file written objections within
fourteen (14) days after being served with a copy unless the time period is modified by the
District Court. A party filing objections must specifically identify those findings, conclusions or
recommendation to which objections are being made; the District Court need not consider
frivolous, conclusive or general objections. Such party shall file the objections with the Clerk of
the Court and serve the objections on the Magistrate Judge and on all other parties. A party's
failure to file such objections to the proposed findings, conclusions and recommendation
contained in this report shall bar the party from a de novo determination by the District Court.
Additionally, any failure to file written objections to the proposed findings, conclusions and
recommendation contained in this report within fourteen (14) days after being served with a copy
shall bar the aggrieved party from appealing the factual findings of the Magistrate Judge that are
accepted or adopted by the District Court, except upon grounds of plain error or manifest
injustice.

       SIGNED this 24th day of January, 2020.




                                             RONALD C. GRIFFIN
                                             UNITED STATES MAGISTRATE JUDGE
